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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


LUIS M. HERNANDEZ,

         Plaintiff,

v.                                                            Case No: 8:12-cv-765-T-30AEP

UNITED STATES OF AMERICA,

         Defendant.


                                         ORDER OF DISMISSAL

         Before the Court is the Plaintiff's Notice of Voluntary Dismissal With Prejudice

(Dkt. #21). Upon review and consideration, it is

         ORDERED AND ADJUDGED as follows:

         1.       This cause is dismissed with prejudice.

         2.       All pending motions are denied as moot.

         3.       The Clerk is directed to close this case.

         DONE and ORDERED in Tampa, Florida, this 7th day of November, 2013.




Copies furnished to:
Counsel/Parties of Record

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